
ON PETITION FOR PANEL REHEARING AND REHEARING EN BANC.

ORDER

A combined petition for panel rehearing and rehearing en banc was filed by the *1040Appellee, and a response thereto was invited by the court and filed by the Appellants. The petition for rehearing was referred to the panel that heard the appeal, and thereafter the petition for rehearing en banc and response were referred to the circuit judges who are authorized to request a poll whether to rehear the appeal en banc. A poll was requested, taken, and failed.
Upon consideration thereof,
IT IS ORDERED THAT:
(1) The petition for panel rehearing is denied.
(2) The petition for rehearing en banc is denied.
(3) The mandate of the court will issue on November 29, 2006.
MICHEL, Chief Judge, with whom RADER, Circuit Judge, joins, dissents in the denial of the petition for rehearing en banc in a separate opinion.
NEWMAN, Circuit Judge, dissents in the denial of the petition for rehearing en banc in a separate opinion.
LOURIE, Circuit Judge, concurs in the denial of the petition for rehearing en banc in a separate opinion.
RADER, Circuit Judge, dissents in the denial of the petition for rehearing en banc in a separate opinion.
GAJARSA, Circuit Judge, with whom LINN, and DYK, Circuit Judges, join, concur in the denial of the petition for rehearing en banc in a separate opinion.
MOORE, Circuit Judge, dissents in the denial of the petition for rehearing en banc in a separate opinion.
